     Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 1 of 13



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND


AMERICAN COLLEGE OF
OBSTETRICIANS AND
GYNECOLOGISTS, et al.,
                                     CIV. NO. 20-1320
                 Plaintiffs,

           vs.

UNITED STATES FOOD AND DRUG
ADMINISTRATION, et al.,

                 Defendants.


  PLAINTIFFS’ SUPPLEMENTAL BRIEFING ON JUNE MEDICAL SERVICES V.
     RUSSO IN SUPPORT OF MOTION FOR PRELMINARY INJUNCTION
          Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 2 of 13



   I.       INTRODUCTION

         On June 29, for the second time in four years, the Supreme Court struck down an

abortion regulation purportedly designed to protect patients’ health, in a case brought by abortion

clinics and physicians to vindicate their patients’ constitutional rights. Applying the principles

articulated in Whole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292 (2016), and the decades of

jurisprudence on which it relied, a majority of the Court concluded in June Medical Services,

L.L.C. v. Russo that a Louisiana law requiring abortion providers to have hospital admitting

privileges imposed an unconstitutional undue burden. Nos. 18-1323, 18-1460, 2020 WL

3492640, at *4, *20-21 (U.S. June 29, 2020); id. at *22, *26, *29 (Roberts, C.J., concurring).

The decision affirms that Defendants’ legal analysis is wrong on multiple grounds and

definitively supports Plaintiffs’ motion for a preliminary injunction.

   II.      ARGUMENT

         June Medical brings the flaws in Defendants’ legal arguments into stark relief.

Defendants argue that third-party standing is improper despite 40 years of precedent authorizing

clinicians to raise their patients’ constitutional right to abortion. See ECF No. 62 (“Defs.’ Br.”)

9-10; ECF No. 73 (“Pls.’ Reply”) 6-8. June Medical considers and rejects the same arguments.

Defendants construe the undue burden test as singularly focused on whether a challenged law

blocks patients from accessing abortion altogether—removing from the scale any balancing of

the law’s asserted benefits, any consideration of burdens beyond outright prevention, and,

indeed, any burdens specific to medication abortion care at all. See Defs.’ Br. 13-22; Pls.’ Reply

8-16. This framing cannot be squared with June Medical, which preserves Whole Woman’s

Health’s holdings—including the essential balancing test—and considers a range of burdens on

abortion patients short of a complete bar, including health risks, delay, and impeded access to



                                                  1
         Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 3 of 13



medication abortion. Finally, Defendants argue that this Court should apply United States v.

Salerno’s no-set-of-circumstances test instead of the large fraction test the Supreme Court has

repeatedly applied in evaluating restrictions on abortion. 481 U.S. 739 (1987); see Defs.’ Br. 11-

13; Pls.’ Reply 15 n.14. June Medical expressly rejects the argument that Salerno applies and

instead again applies the large fraction test for facial invalidation, putting Defendants’ argument

decisively to bed. Because Defendants’ key legal arguments—regarding third-party standing,

Plaintiffs’ likelihood of success on the merits of their privacy claim, and the standard for facial

relief—are unsalvageable after June Medical, preliminary injunctive relief is warranted.

       A. Third-Party Standing

       June Medical reaffirms that abortion providers have standing to assert their patients’

rights in constitutional challenges to abortion restrictions. 2020 WL 3492640, at *8-10

(plurality); id. at *26 n.4 (concurrence agreeing with plurality’s entire discussion of standing). In

addition to finding that the State had waived its third-party standing argument, the Court held

that the State’s standing challenge was also “foreclose[d]” by “a long line of well-established

precedents.” Id. at *10. The Court first observed that it “ha[s] long permitted abortion providers

to invoke the rights of their actual or potential patients in challenges to abortion-related

regulations.” Id. at *9 (citing nine Supreme Court decisions as examples). And noting that the

Louisiana law—like the REMS—“regulates [abortion providers’] conduct,” id. at *10, the Court

explained that it also “ha[s] generally permitted plaintiffs to assert third-party rights in cases

where the enforcement of the challenged restriction against the litigant would result indirectly in

the violation of third parties’ rights,” id. at *9 (internal marks and emphasis omitted) (citing eight

Supreme Court decisions as examples). Like the Louisiana physicians prohibited from providing

abortion care unless they obtained admitting privileges, Plaintiffs and their members—who are



                                                   2
         Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 4 of 13



prohibited from providing medication abortion care unless they comply with the REMS’s

clinician certification, in-person dispensing, and patient form requirements—are “obvious” and

“uniquely qualified” representatives of their patients’ rights. See id. at *10; ECF No 1, Ex. 2, at 3

(mifepristone sponsors “must” “de-certify healthcare providers who do not maintain compliance”

with the REMS and may “[n]ot ship mifepristone” to de-certified prescribers).

       Moreover, June Medical rejected the arguments Defendants assert here to try to persuade

this Court to break with precedent. A majority of the June Medical Court disagreed with

Louisiana (and the dissent) that a disqualifying “conflict of interest” exists when the asserted

justification for an abortion restriction is patient safety, noting that this “is a common feature of

cases in which [the Court has] found third-party standing.” Compare id. at *10, with id. at *38,

*49-50 (Alito, J., dissenting); Defs.’ Br. 10. Likewise, Louisiana’s argument that pregnant

people seeking time-sensitive medical care do not face hindrances in directly litigating their

rights found no traction with the June Medical majority. Cf. June Med. Servs., 2020 WL

3492640, at *51-52 (Alito, J., dissenting); Defs.’ Br. 9. As the Court explained in Singleton v.

Wulff, on which June Medical relies, see June Med. Servs., 2020 WL 3492640, at *10, the key

question on third-party standing is whether the litigant will be an effective advocate of the third-

party’s rights, 428 U.S. 106, 114-18 (1976). Here, Plaintiffs and their members, who seek to

protect their patients (and themselves) from the viral risks associated with unnecessary travel and

in-person contact during the COVID-19 pandemic, are exactly the kind of effective advocates for

their patients’ rights that the Supreme Court has once again recognized have third-party standing.

       B. Undue Burden Standard

           1. Consideration of Benefits

       In June Medical, five Justices held that under Whole Woman’s Health, Louisiana’s



                                                  3
         Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 5 of 13



admitting privileges requirement for abortion providers is unconstitutional. As in Whole

Woman’s Health, the plurality “weigh[ed] the [Louisiana] law’s ‘asserted benefits against the

burdens it imposes’ on abortion access,” and found those burdens undue. June Med. Servs., 2020

WL 3492640, at *3-4 (quoting 136 S. Ct. at 2310) (describing Whole Woman’s Health’s

balancing test); see also, e.g., id. at *10-12 (affirming district court’s conclusion that, “even if

[the Louisiana law] could be said to further women’s health to some marginal degree, the

burdens it imposes far outweigh any such benefit”). Based on its review of the district court’s

fact findings “both as to burdens and as to benefits,” the plurality agreed with the “determination

that Louisiana’s law poses a ‘substantial obstacle’ to women seeking an abortion . . . offers no

significant health-related benefits; and . . . that the law consequently imposes an ‘undue burden’

on a woman’s constitutional right to choose to have an abortion.” Id. at *20 (emphasis added).

       Chief Justice Roberts reached the same result—that Louisiana’s law was

unconstitutional—by applying the “principles of stare decisis.” Id. at *26 (Roberts, C.J.,

concurring); id. at *21-22. The Chief Justice explained that “[t]he question today . . . is not

whether Whole Woman’s Health was right or wrong, but whether to adhere to it in deciding the

present case.” Id. at *21. Because June Medical involved a challenge “nearly identical to the

Texas law struck down four years ago in Whole Woman’s Health,” the Chief Justice determined

that “the result in this case [was] controlled” by that decision. Id. at *21, *29; see also id. at *28

n.6 (“I cannot view the record here as in any pertinent respect sufficiently different from that in

Whole Woman’s Health to warrant a different outcome”).

       It is of no moment that Chief Justice Roberts’s concurrence included a critique of the

balancing test set forth and applied in Whole Woman’s Health. See id. at *23-26. Defendants’

attempt to argue that the single-Justice concurrence overruled Whole Woman’s Health’s



                                                   4
         Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 6 of 13



balancing test and relieves this Court of its obligation to “consider the burdens a law imposes on

abortion access together with the benefits those laws confer,” Whole Woman’s Health, 136 S. Ct.

at 2309, fails as a matter of law.

       Under Marks v. United States, when a decision of the Court lacks a majority opinion, the

opinion of the Justices concurring in the judgment on the “narrowest grounds” is regarded as the

Court’s holding. 430 U.S. 188, 193 (1977). As the Fourth Circuit has explained, “the narrowest

opinion [is one that] represents a common denominator of the Court’s reasoning’ and

‘embod[ies] a position implicitly approved by at least five Justices who support the judgment.’”

A.T. Massey Coal Co. v. Massanari, 305 F.3d 226, 236 (4th Cir. 2002) (citing Ass’n of

Bituminous Contractors, Inc. v. Apfel, 156 F.3d 1246, 1254 (D.C. Cir. 1998)). 1 The narrowest

grounds constituting a “common denominator” of the Court’s reasoning must be a “logical

subset” of the plurality opinion: to hold otherwise would turn Marks on its head and make the

rationale garnering the least support among those supporting the judgment the law of the land.

See King, 950 F.2d at 781; Cardenas v. United States, 826 F.3d 1164, 1171 (9th Cir. 2016)

(“Marks applies when, for example, the concurrence posits a narrow test to which the plurality

must necessarily agree as a logical consequence of its own, broader position.” (internal

quotation marks and citation omitted) (emphasis in original)).

       Here, the concurrence stands alone among “Justices who support the judgment” in



1
  Because courts are “controlled by the decisions of the Supreme Court,” and “[d]issenters, by
definition, have not joined the Court’s decision,” their opinions are irrelevant to the Marks
analysis. United States v. Robison, 505 F.3d 1208, 1221 (11th Cir. 2007); see also, e.g., King v.
Palmer, 950 F.2d 771, 783 (D.C. Cir. 1991) (en banc) (“[W]e do not think we are free to
combine a dissent with a concurrence to form a Marks majority.”); Miller v. Brown, 503 F.3d
360, 366 n.6 (4th Cir. 2007) (applying Marks, refusing to adopt the “concurring Justices’ view
regarding the importance of the associational interests at stake” in Clingman v. Beaver, 544 U.S.
581 (2005), though the Clingman dissenters likewise found meaningful associational interests).

                                                5
         Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 7 of 13



questioning the benefits-burdens balancing test. Far from “implicitly approv[ing]” that reasoning,

the four Justices in the June Medical plurality reaffirmed and applied Whole Woman’s Health’s

balancing test. See supra 4. Because the Chief Justice’s critique of the balancing test is not a

“logical subset” of the plurality opinion and therefore cannot form the controlling opinion of the

Court, this Court remains bound by the majority opinion in Whole Woman’s Health—which held

that precedent “requires that courts consider the burdens a law imposes on abortion access

together with the benefits those laws confer.” Whole Woman’s Health, 136 S. Ct. at 2309

(emphasis added); see also id. at 2310-12 (evaluating benefits of challenged law before turning

to question of burdens); id. at 2315-16 (same); June Med. Servs., 2020 WL 3492640, at *3

(plurality describing balancing test as part of Whole Woman’s Health’s holding). The narrow

controlling decision in June Medical—that the Louisiana admitting privileges law must fall

under Whole Woman’s Health—does not alter this binding precedent. See June Med. Servs.,

2020 WL 3492640, at *21 (Roberts, C.J., concurring) (“[T]he question today . . . is whether to

adhere to [Whole Woman’s Health] in deciding the present case”).

       As Plaintiffs have explained, the Mifepristone In-Person Dispensing Requirement

provides no benefit—none—and is opposed by the nation’s leading medical authorities; thus, the

medical risk and other serious burdens the Requirement imposes on patients during the COVID-

19 pandemic, discussed further infra, easily outweigh the government’s asserted interests here.

See Pls.’ Reply 8-16; ECF No. 12 (“Pls.’ Opening Br.”) 7, 24-28.

       Indeed, even under the test the concurrence posits, the illogic of requiring patients to

travel in person to a health care facility, during a pandemic, solely to pick up a pill (which the

FDA permits them to swallow, unsupervised, at home) and sign a form (which they have already

reviewed with their clinician), is dispositive as to both Plaintiffs’ undue burden and equal



                                                  6
         Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 8 of 13



protection claims. The concurrence contends that, in applying the undue burden test, a law’s

“benefits” are relevant “in considering [a] threshold requirement that the State have a ‘legitimate

purpose’” for restricting abortion, and that the challenged law “be ‘reasonably related to that

goal.’” June Med. Servs., 2020 WL 3492640, at *25 (Roberts, C.J., concurring) (emphasis

added) (citations omitted). Here, because the Mifepristone In-Person Dispensing Requirement

does not bear any reasonable relationship to advancing patient safety during the COVID-19

pandemic, it is unconstitutional under any standard.

           2. Cognizable Burdens

       A robust body of case law, including Whole Woman’s Health, forecloses Defendants’

argument that the Constitution allows the government to freely burden medication abortion

patients so long as they are ultimately still able to obtain an abortion. See Pls.’ Reply 9; Defs.’

Br. 12-15. June Medical adds to this jurisprudence, reinforcing that courts must consider an array

of burdens short of outright prevention in evaluating Plaintiffs’ constitutional claims. See, e.g.,

June Med. Servs., 2020 WL 3492640, at *18 (“Those women not altogether prevented from

obtaining an abortion would face other burdens”); id. at *6-7 (characterizing as “essential” the

district court finding that “[t]hose who can [obtain an abortion] will face substantial obstacles in

exercising their constitutional right to choose abortion” because of reduced availability

(emphasis added)); see also id. at *27 (Roberts, C.J., concurring) (discussing burdens beyond

prevention, including increased medical risk).

       Defendants’ contention that this Court should not consider the needless risk to which the

Mifepristone In-Person Dispensing Requirement subjects patients as a condition of obtaining

medication abortion care was meritless before June Medical and is all the more unavailing now.

See Defs.’ Br. 13-14, 20-21. Both the plurality and the concurrence recognized that, “[a]s in



                                                  7
         Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 9 of 13



Whole Woman’s Health,” the Louisiana law would result in “longer waiting times, and increased

crowding,” and the plurality explained that an expansion of services by one physician still

“would not meaningfully address the health risks associated with crowding and delay.” June

Med. Servs., 2020 WL 3492640, at *18-19; see also id. at *27 (Roberts, C.J., concurring) (noting

with approval that the district court in June Medical, like the Court in Whole Woman’s Health,

found that the law would result in “longer waiting times for appointments, increased crowding

and increased associated health risk” (internal quotation marks and citations omitted)). The

plurality likewise highlighted “that delays in obtaining an abortion increase the risk that a woman

will experience complications from the procedure and may make it impossible for her to choose

a noninvasive medication abortion.” Id. at *18 (emphasis added). And, as in Whole Woman’s

Health, the plurality emphasized the district court’s finding that “the burdens of this increased

travel would fall disproportionately on poor women, who are least able to absorb them.” Id.;

accord 136 S. Ct. at 2302 (highlighting district court’s finding that the Texas laws imposed

particular burdens on “poor, rural, or disadvantaged women”).

       The risks that travel, childcare, and in-person health care visits pose during the COVID-

19 pandemic are so significant that Defendants have, inter alia, authorized controlled substances

to be prescribed without the previously required in-person visit; permitted drugs subject to a

REMS to be prescribed without the mandatory MRIs and lab testing; relaxed requirements for

prescription drug samples to permit patients to receive such medication by mail or common

carrier at their homes; and—as Plaintiffs and the Court learned for the first time at oral

argument—allowed two other drugs subject to ETASU C to be dispensed at patients’ homes,

instead of the in-person administration at health care facilities required by their REMS, during

the pandemic. See Pls.’ Opening Br. 12-15; Pls.’ Reply 2; ECF No. 78, at 1-2. Defendants’



                                                 8
        Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 10 of 13



extensive efforts to mitigate transmission risks for patients using other drugs, and Plaintiffs’

unrebutted expert testimony, readily establish that subjecting patients to SARS-CoV-2 exposure

risks as a condition of obtaining medication abortion care is a substantial obstacle indeed. This is

particularly so for low-income people and people of color, who comprise the majority of

abortion patients and who are more likely to suffer preexisting conditions that put them at higher

risk of severe illness or death from COVID-19. See Pls.’ Opening Br. 20-24.

       Recent events underscore the seriousness, pervasiveness, and duration of this risk. As

states have begun to allow increased in-person contact, COVID-19 cases are surging. According

to the CDC, a component of Defendant HHS, while the nationwide daily number of new

COVID-19 cases had previously exceeded 35,000 only on two days in April—and otherwise

generally remained below 30,000 since the beginning of the U.S. outbreak in March—the past

week has seen record-breaking rates, on multiple days approaching 45,000 new cases. 2 These

resurgences, which are consistent with Plaintiffs’ unrebutted expert testimony, see ECF No. 11-

4, ¶¶ 12, 28, are emblematic of the ongoing and substantial risk that patients across the country

face when forced to travel to and from a health care facility (involving, e.g., public

transportation, cabs, ride shares, and/or gas stations and rest stops); bring someone into their

home to assist with childcare or drop their children off with others; and navigate in-person

contact at a health care facility. See Pls.’ Opening Br. 19-24. Even if the undue burden test

demanded a showing of “substantial obstacle” without regard to the strength of the government’s

interest, the Requirement would still pose an unconstitutional undue burden during the pandemic

because of the viral exposure risks it imposes as a condition of accessing abortion care.


2
  U.S. Ctrs. for Disease Control & Prevention, Coronavirus Disease 2019 (COVID-19): Cases in
the U.S., https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last
visited July 1, 2020).

                                                  9
        Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 11 of 13



        C. Remedy

        June Medical also puts to rest Defendants’ argument that the In-Person Dispensing

Requirement should be facially invalidated only if Plaintiffs show that it “is invalid in all

circumstances.” Defs.’ Br. 12. In June Medical, the defendants cited United States v. Salerno,

481 U.S. at 745, arguing, as Defendants do here, that the law was not facially invalid because it

did not burden “every woman.” June Med. Servs., 2020 WL 3492640, at *21 (emphasis in

original). The plurality responded that this was “[t]rue, but beside the point,” because, as the

Court previously held in both Casey and Whole Woman’s Health, a restriction on access to

abortion is facially invalid when it operates unconstitutionally in “‘a large fraction of cases in

which [it] is relevant.’” Id. (quoting Planned Parenthood Se. Pa. v. Casey, 505 U.S. 833, 895

(1992)). “That standard, not an ‘every woman’ standard, is the standard that must govern in this

case.” Id.3

        D. CONCLUSION

        In June Medical, the Supreme Court invalidated once again a purported safety regulation

that burdens abortion patients without sufficient countervailing benefit. Plaintiffs and their

amici—the nation’s health care providers—respectfully ask this Court to do the same, enjoining

this singular restriction on abortion and miscarriage care during the COVID-19 pandemic.




3
  As Plaintiffs have previously explained, they easily satisfy the large fraction test for facial
relief. See Pls.’ Reply 15-16. Plaintiffs note, however, that as the Court suggested during oral
argument, because the requested relief is limited in duration, it could also be understood as a
request for as-applied relief.

                                                 10
       Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 12 of 13



                                            Respectfully submitted,

/s/ Julia Kaye                              /s/ John A. Freedman

AMERICAN CIVIL LIBERTIES UNION              ARNOLD & PORTER KAYE SCHOLER
FOUNDATION                                  LLP
Julia Kaye*                                 John A. Freedman (D. Md. Bar. No 20276)
Anjali Dalal*                               R. Stanton Jones (D. Md. Bar No. 20690)
Ruth Harlow*                                David J. Weiner*
Rachel Reeves*                              Jocelyn A. Wiesner*
Jennifer Dalven*                            Andrew Tutt*
125 Broad Street, 18th Floor                Gina Colarusso*
New York, NY 10004                          601 Massachusetts Ave., NW
(212) 549-2633                              Washington, DC 20001
(212) 549-2650 (fax)                        T: (202) 942-5000
jkaye@aclu.org                              F: (202) 942-5999
adalal@aclu.org                             john.freedman@arnoldporter.com
rharlow@aclu.org                            stanton.jones@arnoldporter.com
rreeves@aclu.org                            david.weiner@arnoldporter.com
jdalven@aclu.org                            jocelyn.wiesner@arnoldporter.com
                                            andrew.tutt@arnoldporter.com
Lorie Chaiten*                              gina.colarusso@arnoldporter.com
1640 North Sedgwick Street
Chicago, IL 60614-5714
rfp_lc@aclu.org


*Pro hac vice

                              Counsel for Plaintiffs




                                       11
        Case 8:20-cv-01320-TDC Document 85 Filed 07/01/20 Page 13 of 13



                               CERTIFICATE OF SERVICE


       I hereby certify that this document will be served on the Defendants in accordance with

Fed. R. Civ. P. 5.



                                           /s/ John A. Freedman
                                           John A. Freedman
                                           601 Massachusetts Ave., NW
                                           Washington, D.C., 20001
                                           T: (202) 942-5000
                                           john.freedman@arnoldporter.com
